           Case 17-08002 Document 50 Filed in TXSB on 06/18/18 Page 1 of 1



                   IN THE UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION                                            ENTERED
                                                                                           06/20/2018

 In Re:                                         §
                                                §
 MICHELLE CONNELY                               §   CASE NO. 16-80356
                                 Debtor         §     (Chapter 13)
                                                §

                        ORDER APPROVING COMPROMISE AND
                  SETTLEMENT AGREEMENT IN ADVERSARY NO. 17-08002
                                  (Relates to Dkt # 97))
          Came on for consideration the Joint Motion of Michelle Connely (“Connely”), plaintiff

 in the above-captioned proceeding and debtor in the above-captioned case, and Christian

 Consultants of Texas, LLC (“CCT”), Kevin Pawlowski (“Pawlowski”). The Court concludes that

 the proposed settlement is reasonable, in the best interests of the estate, and should be

 approved. With no further notice being required, it is accordingly.

          ORDERED:

          The Compromise and Settlement Agreement is approved in Adversary No 17-08002.

 Dated:                 , 2018
Signed: June 18, 2018

                                                 ____________________________________
                                                               Marvin Isgur
                                             THE HONORABLE MARVIN ISGUR,
                                                     United States Bankruptcy Judge
                                             UNITED STATES BANKRUPTCY JUDGE
